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                                                            :
                                 UNITED STATESDJSTRICT COURT
                                 SOVTHERN DISTRICT OF FLORIDA

                                 CASE NO . l:23-mj-02893-Reid

     UNITED STATES'OF AM ERICA,



     IJARRYSON JEAN-BAPTISTE,SR.,
             Defendant.
                                                   /

                                      CR IM INA L CO VER SH EET
         '


             Didthismatteroriginatefrom amatlerpendil)gintheNolthernRegionoftheUnitqdStates
             At1bl'
                  lwy'
                     s Offiçepriorto August8,2014 (Mag.
                             .                        'JudgqShanieltM .M aynard)?No.
                   '
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                                                            ;
             Didthighmatkrorigihatefrom amatterpending inthe CentràlRcgion oftheUnitsd States
             Attomey'sOm ceprioktoOctober3,2019(Maj.'
                                                    JudgeJaredM,Strauss)?No.
             D id this m aster irw olve the participation of or consultAtion w ith now M agistfate Judge
                                                            .

             Edtàardp 1.Sanchez during histenure atthe U .S. Attplmey'
                                                            .              'sO ffice,which concludqd on
             January,zz,2023? N o.

                                                            1
                                                          Rejpectfully subm itted,

                                                          M XRKENZY LA?OINTE
                                                          UNITED STATES ATTORNEY
                                                            1

                                                       By:/s//1 s.Rubin
                                                          :liS,
                                                              .Rubin
                                                          AssistantUniteciStatesAttolmey
                                                          Courtld N o.A 5502535
                                                          UliitçdStatesAtlorney'sOffice
                                                          99N .E.4th Street
                                                          f
                                                          kliam i,FL 33132
                                                          Te1:305-961-9247
                                                          Enùil:Eli.rtlbin@usdpj.gov
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                                      U NITED STATES D ISTRICT COtJRT
                                                                      forthe
                                                          Soutlltu-
                                                                  nDistrictof-lè
                                                                               iolida
                       Llnitcd StatesofAmcrica

                                                                                CascNo.1:23-mj-02693-Reid
                      Harryson Jean-Baptiste,Sr..


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              CRIM INAL COM PLAINT BY TELEPHONE OR OTH ER RELIABLE ELEC IARONIC M EANS
               1,tllccomp1ainantinthiscasc,statctlaatthefollowingistm'etothcbcstoflnyknowlcdgcandbclicf.
    Onoraboutthedatets)of June1?.,.2
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                                                                                                 )//oz?
            18U.S.C.j 1344                            Bank Fraud;and
            18U.S.C:j 1957                            Engaging in MonetaryTransactions in Prcperty Derived from Specjtled
                                                      UnldwfulActivity       '




              Thiscrim inalcnmplaintisbascd on tllcsc f'
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             SEE AU ACHED AFFIDAVIT.




              V Continuedonthcattachedshcct.


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                                                                                       ChristopherJ.Ramos.Specl
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        Attcsted to by thc Applièantin accordanccwith thcrcqtlircmcntqofFed.
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    Date: A ri110 20 3                                                           '
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    City mld Statc:                         Miami,Florida                        HoncrableLisetteM.ReidjUnited StatesMagi
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                         AFFIDA VIT IN SUPPO RT O F A CR IM IN AL CO M PLA INT

                1,ChristopherJ.Ramos,beingtk-stdulyswolm,hereby deposeand stateasfollows;

                               INTR O DU CTIO N A ND AG ENT BAC K G RO U ND

                        lam '
                            a jpecialAgent with the UniteclStates Department of Treasury,IntenAal

         Revenue Service,Climinal Investigation (lRS-CI), and have selwed in this capacity since
        N ovem ber 2020. In association with m y official duties,Ihave the responsibility to investigate

        possiblzviolationsofthelntemalRevenueLaws(Title26,UnitedStatesCode),theBankSecrecy
i
I
'
p       Act(Title 31,United StatesCode),and the Nloney Laundering Statutes (Title 18,United States

         Code). Since becoming an IRS SpecialAgent,Ihavqpersonally investigated and/or assisted in
                                                                 ,



         investigationsrelatingtotheIntenlalRevenueLaws. Ihaveworked with investigatorsoffederal,

         state and local1aw enforcem entagencies.

                        The factssetfol'
                                       th in this aft-
                                                     idavitare based upon my personalobservations,my

        training and experience,and infonnation obtained from various law ellfbrcenzentpersonneland

         witnesses. 'Ihis affidavitis ifltended to show m erely thatthere issufficientprobable càtlse 1-01-the

        requested w arrant and does notpurpol'tto setforth a11ofm y knowledge of orinvestigation into

        thism atter. U nlessspecifically indicated othenvise,a11conversatiolzs and statem ents described in

        thisaffidavitarerelated in substance and in partonly. Applicable law cited herein is based upon

         infonuation provided by the United SlatesAttonzey'sOffice forthe SouthenzD istrictof Florida

                        This affidavitism ade in supportofa cl-im inalcom plaintcharging Harryson Jean-

         Baptiste Sr.(ttJEAN-BAPTISTE'')with violating Title 18,United StatesCode,Sections 134,
                                                                                              4
         (Bank Fraud)and 1957 (Engaging in M onetary Transactionsi'
                                                                  n Propmïy Derived from Specified
         UnlawfulActivity).
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            4.     '
                   lhis affidavit is based on m y personal investigation and investigation by others,

     includi'
            ngfederalan.
                       d local1aw cnforcementofficialtwhom Iknow tobereliableandtnlstworthy.

     '
     lhe facts contained herein are based on witnesses' intelwiews and docum ents obtained in the

     course ofthe investigation asw ellasthrough otherm qans. This affidavit does notinclude evel'y

     fact know n to m e about this investigation,but rather only those facts sufficient to establish

     probable cause.

                  OVERVIEW OF THE PAYCHECK PROTECTJON PROGRAM

                   TheCoronavirusAid,Relief,andEconom icSecurity CGCARES'')Act,Pub.L.116-
     136, 134 Stat. 281, is a federal law enacted in or arotlnd M '
                                                                  arch 2020 designed to provide

     em ergenc
             'y financial assistance to tlw m illions of Am ericans who are suftkring the econom ic

     effectscaused by the COV 1D-19 pandem ic.

                   One spurce of relief provided by the CARES Act was the Paycheck Protection

     Program (&TPP'')
                   '
                   T'
                    he PPP authorized up to $349 billion in forgivableloansto smallbusinessesfor

     jobretention andcertain otllerexpensès.Among othérincreasesin funding,in oraround April
     2010,Conressauthorized over$300billion in additiohalPPP funding.
                   ln order to obtail) a PPP loan, a qualifying busipess had to subm it a PPP loan

     application,which had to besigned by aI'
                                            Iatlthorized representative ofthebusiness. The PPP loan

     àpplication required the busipess (through its authorized representative) to acknowledge the
     program nzlesand makecel-tain affinmtttiveèertificationsin orderto beeligibleto obtainthePPP

     loan. In thePPP loàn applicatiolt thesmallbusinesstthr
                                                         , ough itsauthorized representative)mtlst
     have stx
            ated,among otherthings,its:(a)average m ont
                                                      ,hly payrollexpenses'
                                                                          ,and (b)numberof
     em ployees. These figures wéte used to calculatethe amountofmoney the sm allbusiness was
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     eligibletoreceive underthe PPP. ln addition,businessesapplying foraPPP loan hadtoprovide
     doctlm entation to the lending institution showing thtir payrollexpenses. Typically,btlsinesses

     would supply doçum ents showing tlze am otm tof payrolltaxes reported to the Intem al Revenue

     ServiceC11RS'').
                   A PPP loan application had to beprocessbd by a participating lender. lfa PPP loan

     applicàtièn w as approved,the pal-ticipating lender funded the PPP loan using its ow n m onies,

     which were, urlder certain circumstalwes, 100% guaranteed by the               Sm all Business

     A dlninistl-ation tttsBA''
                   .          ). Datafrom the application,includinginfonnation'aboutthebol-
                                                                                          rower,
     the totalx
              am ountofthe lèan,and thelisted num ber ofem ployees,w astransm itted by the lenderto

     the SBA in the course ofprocessing the loan,

            1O.    PPP loan proceedshad to beused by thebusinesson certain pennissibleexpenses

     payrollcosts,intereston m ortgages,rent,and utilities. The PPP allow ed theinterestand principal

     on the PPP loan to be entirely forgiven if the businessspent1he loan proceeds on these expense

     item s within a designated period oftim e aflerreceiving the proceedsand using a certain am ount

     ofthePPP loan proceedson payrollexpenses.

                   JEAN-BAPTISTE OBTAINED A FRAUDULENT PPP LOAN

            11.    JEAN-BAPTISTE applied forand received a false and fratldulentPPP loan on
     behalf of TrustedcommunicationsLLC (ttTlrstedcom mtlnications''),a M iami-based entity he
     controllzd. JEAN-BAPTISTE received nearly $1.5m illion in fraud proceedsand spentmuch of

     themoney- before itwastkozen- on personalexpendituresand thatofothers.
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                $                                                                              '                                 ''




                          .
                                                      B ackgrouttd on JEAN -BAPTISTE and FrlzxzetftlWzzlzwlzzzïcy//l a:

                                    12.           JEAX-BAPTISTE isaresidentoftheS'
                                                                                 outhenlDistrictofFlorida Hislastknow n      .



                        address isin q/estPayk,Florida,in BrowardCounty. .
                                          .                                                                                          -
                                                  '
;


                                    13.           0n         approxiltlately   .
                                                                               Tu1y           1,       2019,       JEAN -BAPTISTE            fonued

                        Trustedcom municatiönsunderthe lAwsofFlorid'
                                                                   a. JEAN-BAPTISTE was listed asthe entity's

                        registered agentand Ambassador. A residentialapartm elîtdwefling in M iami-Dade Cotmty (the
                        G: th
                         14 PlaçeAddress'')waslistedastheentity'splincipaladdressandmàilingaddress.Basedona
                                                                                          -
                                                                                                                                                          '
                        lease agreem ent provided by the landlord of the dwçlling,JEAN-BAPTISTE'S elose relative
                                                        .            J                             '
                        occupied the 14thPlace Addressatthe time Tnzstedcömmunicationswasfonned The relàtive                     .



                        listed JEAN -BAPTISTE ashis/herem ergency contact.                                 .
                                                                                                   l
                                                                                                   .                                              /
                                    14.           t7lkapproximatelyJuly 18,2019,JEAN-BAPTISTEbpenedabankaccountending
                        in 2997 in thename ofTrustedcommunications'
                                                                  atBank 1(ûlzfccount29975). Balzk 1was'a
                        finatzcialinstitution federally ilzsured bytheFederalDepositInsuranceCom oration (ETD1C'')lmd
                                                                                                   1
        .
        '
                        based in Char
                                  '
                                     lottee
                                          '
                                            Nol4lACarolina. JEAN-BAPTISTE ope
                                                                           m
                                                                           .
                                                                             ned the aceountata branch in M iam i,                       ,



                        Florida,and wastheaçcount'sonly signer.                                    ;

                                                            BankRecordsforAccount29975110w NoEmployqes
                                    f5.           Bank recordsforAccount2997from appröxim ately July 2019 thtough M ay 2020
                                                                                                                         .                                    '
            '
                                                                                                   !
                        establish thatthe accountw asnd uted forbusinessexpenses orsalary,butrathereveryday living

                        CXPCnSeS.
                                '
    .
                                    16.           On average,evel'
                                                                 y m onth from Ju1y 2019 throtlgh M a: 2020,JEAN-BAPTISS
                                                                                      .                                IY                             '
                        dyposited $4,618.09intotheaccountandwithdrew $1,582.30.Credits inctuded cash depositsand
                                                                                                               .


                    '
                        transfçrs via Zetlç. Debitsincluded transfersto CapiialOqe,cash w ithdraw als,and debit card
                                              .                                                                    .




                        PaymentstovendorssuchasAmazon,JetBlue,anéSpeedway.
                                                                                      '
                                                                                          4        '
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                                              17. '
                                                  lhe bank records d)d notevidence any paychecksto any employees, nor any
                                    pttymentstoany pàyfollcompany,yincetheopening oftheaccount.

                                                   JEAN-BAPTISTE AppliedforandReceivedrzFraudulentPPP .
                                                                                                      l-tlczz
                                           18:      On approximately Jlme 19,2020,JEANLBAPTISTE applied for a PPP lot
                                                                                                                    m on
                        .           behylf of Tl-ustèdcommunications with Loan Processor 1. LoaA Processor 1 was.a finançial
.
                                    ticlmology çom pany basqd in Atlantw G eorgia, Loah Processor 1 w orked with Bank 2 to fund
                                                                                                           .



'
                                    PPP loans.'Bank 2 wasa t-inancialinstitution insum d by theFDIC and based in FortLee, New

                                    Jersey.                                  .




                                           19. 'JEAN-BAPTtjTE submitted the PPP loan appltcation otzlinû. The'internet
                '
                                    protocol(&:1P'')addressassbciatedwiththe application syas asjignedto RIPE NCC,aregioni
                                                                                                                         tl
                                    lntdnleiregistry fo#countriesin Europe,theM iddle East, im d partsofCentralAsia. Given that
                        '

                                    JEAN -BAPTISTE livesin the Southem D istyictofFlorida and,asdescribed below,convertedthe
                                                                                          .



                                '
                                    fundsin the Southern DistrictofFloridaoitappearsthatheused avirtuqlprivatenetwork (ç
                                                                                                       .               1VPN'')
                    '
                                    to r
                                       disguise tiigactuallqzlttion. Furthçr,based on rtcordsrûceived from the U S.Depallm ent of
                                                                                                                       .


                            '
                                    Holpeland Seeurity,l'Iom eland.Sùcurity Investigations,at the tim e of the application,JEAN-
        '
    '
                                    BAPTISTE had hotteA theUnitbdStatessince2018.             .
                                           20.:     In his abolication, JEAN-BAPTISTE stated thatTrustedcom munications had 32

                                    emploàrees.and'ah iveragè mohtltly payroll ijf $599,336. These ajsertions were false.
                                    Trtlytedcom m unicafionsdid not'
                                                                   have any em ployees,nortp y payroll. Bpsed on recordsreceived    '

                                    from the Flbrida D epartrhent of Reventle, Trustedcom lm m ications had not registered to pay
            .                              '                                                                       -
                                                                                                                           'Y

    .                               çmploymenttax in Fl4tida,thè entity'spurported place öféperatitm. N or hadthe entity in fact

                                    paidanysuthtaxes,despitethetketaq
                                                                    llFlöriba-based4mplofèrsar:requiredtodoso.
                                                                             .




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                                               -                                                               *                        .
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              2 1.   In the application, JEAN -BAPTISTE listed him self as 1he owner

     Tnlstedcommunicationsand providedcertain acctlratepersonalidentifying infontlation, such as

     hissocialsecurityûumberandphonenumberendingin8278(the::8278PhoneNumbe/'),tJEAN-
     BA PTISTE also included acolorphotograph ofthe ft'ontside ofhisavalid Florida driver's license.

                     JEAN -BAPTISTE included in the application an 1RS Form 5V-3 purportedly filed

     with theIRS. Thefonu stated thatTfustedcom m tm ciationsllad filed 32 Form W -2sw ith the1RS

     and w ithheld from its em ployees ovec $l.4 m illion dollar's in taxes: over $899,000 in federal

     incometax,over$445,000 in socialsecurity tax,and over$104,000 in medicaretax.2

              23. Thisdoctlmentwasfalseandfraudulent.Atthetimeoftheapptication,basedon
     IRS records,Trustedcom m unicationshad notsubm itled any docum entsto the IRS,norpaid any

    taxes.

              24. JEAN-BXPTISTE listedhisemailaddressastmstedcolAlmullications@ lrail.com.
    Records from the em ail account's provider stated thalthe accounlw as created on June 9,2020,.

     approxim ately ten daysbefore JEAN -BAPTISTE applied forthe PPP loan. Fulher,between the

     creation ofthe accountand October1,2020,tlleaccotmtonly received em ailsfroln Loan Processor



              25.    ln hisPPP applicjttion,JEAN -BA PTISTE m adethefollow ing certifications:



      Num erouspostson Facebook and Instagram depictJEAN -BAPTISTE advel-tising hisability to
    help yiçwers Itmaximize (their) creditscoregs.j'' JEAN-BAPTISTE is shown in a seriesof
    photor aphs. One photograph listshisnam e astil-lan- yson J Baptiste'''anotherasçtl-
                                                                                       lan'yson JB.''
    View ers are illstrucsed to çallthe 8278 Phone Num berto speak with him .
    2,The 1RS Fonu W -2) refen'
          '     .
                                ed to as a W age and Tax Ssatem ent> is used to ieportw ages paid to
    em ployeesand thetaxesw ithheld from them . The IRS Form W -3,refen.ed to as aTransm itlalof
    W age and Tax Statem ents, is used to sum lnarize al1 of a business's em ployee w ages and
    contl-ibutionsforthe previousyear.
                                                    6
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                    ttAltloan proceedswillbeused only forbusiness-related purposes ...17.
                                                                                        ,

                   Trustedcom m unications Itw as ih pperation on Febnlary           2020, and had

                   em ployees forwhom itpaid salaries arld payrolltaxes...'';
                   I<
                    ,. .
                           g-flheinfonuationprovidedinthisapplicationandtheinfonrationprovidedin
                   al1suppol4ing docum ents and form s istnze and accurate in a11m aterialrespects. I

                   understahd that know ingly m aking a false statem ent to obtain a gtlaranteed loan

                   from SBA ispunishabletmderthe1aw(.1''
            26.    Loan Processor 1 approved JEAN -BAPTISTE'S application. On approxim ately

     June23,2020,Bank 2transfen-ed intoAccount2997,viaan Automated Clearinghouse((IACH''),
     $1,498,339,Atthetim eofthecredit,Accotmt2997'sbalancewasapproxim ately $2,521.10.
                                    JEAN -BA PTISTE CO NV ER TED
                        LOAN PROCEEDS & CALLED LOAN PRO CESSOR 1
            27.    JXAN-BAPTISTE quickly began spending and distribtltingtheloanproceeds.
            28.    O n approxim ately June26,2020,JEAN -BAPTISTE wrotetw o $1,900 checks,one

    to him selfand one to a close relative.80th checks w ere drawn on A ccount2997. The m em o line
    .




     on both checksread,içpayrollBack Pay.''

                   On July 1,2020,JEAN-BAPTISTE wrotea$8,300 check drawn on Accotmt2997

    to himself. Them em o line read Giklaterials- Repair.'' On approxinîately July 6,2020,JEAN-

     BAPTISTE negotiated the check ata Bank 1 bratlch in H ollywood,Florida. Surveillance footage

     captured stillim ages ofJEAN -BA PTISTE negotiatingthecheck.

            3O.    JEAN-ùAPTISTE also isstled severallargé-dollarcheckswith the loan proceeds.
     On July 9,2020,hewrote a check to 1T .C.''1-01-$50,000.The m em o line ofthe check readsLtlnitial
     Com pany hwestm ent.''


                                                    7
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              3l,   On July l4,2020,JEAN-BAPTJSTE wrote a $75,000 check to an entity for LAIA
     El
      d
      tdvertisem ent,''ttccording to the check'sm em o line.
      z



              32.   On July 15, 2020, JEAN -BAPTISTE w rote anöther check to LT .C,'''drawn on

     Account2997,thisonefor$12,500.Them em o lineread,tuconsultingFee.''Ballk 1recordsshow

     thattheeheck'wasnegotiatedonJuly 20,2020,ataBank 1branct'
                                                             fin M iam i,Florida.Sulweillance
     footagecaptuted htillim agesofççP.C.''negotlating1hecheck.
                    On approximately'July 7,2020,JEAN-BAPTISTE executed aServicesAgreelhent
     contractw ith PayrollColnpany 1,aa
                                      payrollcompany.JEAN -BAPTISTE signedthe contractusilïg

     Docusigh,a webfbased platfol'm thatfacilitates digitalsignatures. JEAN-BAPTISTE used the

     em>ilaccounthalo son,
                         j.baptiste@o ail.conztosignthecontract,
              34.   Beginning three days later,PayrollCom pany 1 began w ithdraw ing m onies from

     Aceount2997 and issuing paychecksto num erous individuals. In total, 32 people, including

     JEAN-BAPTISTE,receivedapaymelztfrom Accotmt2997.
                    Accordingto PayrollCom pany 1records,fiveofthe32 recipientshadthe 14thPlace

     Addreks tisted. as his/he!- hom e address. The purported em ployees included at least three
                                        .



          6
     imthcdiatefAmily membel'
                            éofJEANLBAPTISTE. Sik otherrecipientsthared&separateaddtess.
                    ln August 2020,the exact date unknown,Balak 1 froze Ac'count 2997 based on

     suspicion offratld.A/proxim ately$1,139,827.32wasfrozen.JEAN-BAPTISTE had spentmore
     than $350,000.3




     3sOn'approxim ately July 14, 2021,1aw enlw
                                              orcem entobtained a seizure w an-antforAccouht2997.
     W arranltoSei'
                  zePropertySubjecttpFol-feitureW an-antbyTelephoneorOthçrReliableElectronic
     Means,Inthezlzfl/fcroftheSeizureofvlllf'r/
                                              'nc'ïlw/,Deposits,Interest,Dividepds,andAnyOther
                                                    8
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*'
                                                                                                        .




                 37,    Based on records obtained tè'om Loan Processor 1, on approiil
                                                                                    uately August28,
          2020, JEAN-BAPTISTE called Loan Processor 1 from the 8278 Phone Number. JEAN -

          BAPTISTE inform ed an em ployee ofLoan Processor 1 thathehad received a PPP loan ofKiclose

          to 1.5''m illion but that Bank 1 had frozen his account. JEAN -BA PTISTE asked if there w as

          anything Loan Processor 1could do to assist. lvhen asked forthe em ailaddress associated w ith

          hisloàn,JEAN -BAPTISTE adfnitted thathe did notrem em ber.
                                              .




                                                  CO NC LUSIO N

                 1.     Based on m ytraining and experience,andtheilltbnnation providedin thisaffidavit,

          1respectftllly subm itthatthere isprobable causeto believethat:

             * From on or abotlt June 19,2020,through on or about June 22,2020, in M iam i-Dade
               County,in the SouthenzDistrictofFlorida,and elsew here,the defendant,H an-     yson Jean-
               Baptiste,Sr.,
                           .did know ingly,and w ith the intentto defraud,execute,and attem ptto execute,
                 and cause thé execution of,a schem e and artifice to defraud one or more financial
                 institusiom ,w hich schçm e and.al4ifice em ployed a m aterialfalsehood,and did knowingly,
                 ànd with i'ntentto defraud,cxeeute, and attem ptto execute,and eause the execution of,a
                 sclkmeandartificetoobtainanyofthemoneysandfundsownedby,andunderthecustody
                 and control of, one or m ore t-m ancial insiitutions, by m eans of m aterially false and
                 ffaudulentpretenses,representations,and prom ises,relatingto a m aterialfact,in violation
                 ofTitle 18,Unifed StatesCode,Section 1344(1)and (2),




                                        (remainderofpageleftblankintentionally)




          FundsFormerl y Credited toAccountJst?t'
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          ofTrustedcontmunicationsJ,/'
                                     ,C,21-6420-MJ-Strauss(S.D.Fla.July 14,é021)(SEALED).
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Case 1:23-cr-20241-RAR Document 1 Entered on FLSD Docket 04/11/2023 Page 12 of 12




               From on oraboutJuly 15,2020,throtlgh on oraboutJuly 2O,2020, inN'Iiam i-DadeCounty.
               in the Southern D istrictof'
                                          Floridavand elsewhere, tlle defendmlt,Harfyson JeAn-Baptiste,
               Sr.,did know ingly engage in a m olletary transactio11 af'
                                                                        -l'
                                                                          ecting interstate cöm m erces l)y,
               througll,alldto aIsllancialinstittltiulliJlcrilllillallyderivedpropertyofavaluegreatertllafl
               $10,400,such property llaving been derived from a specilsed unlawful activity, and
               knowing thattheproperty involvetlin the monetary tfansactiol)represented the proceeds
               ofsomeförm ofunlawfulactivify.thatisLankfraudinviolationofTitlel8.UnitedStates
               Ccide,Secticin t344,in violation ofTitle lR, U nited gtategCode.Section 1957.

     FPRTH ER Y O UR AFFIA NT SA YET H NA UG HT.



                                                      ChristopherJ.I
                                                                   tanlos
                                                      lnttrnalRevenuc Service,Clim inallnvestigatioll
                                                      SpecialAgent


     Attested to Ly the al
                         lplicanti11accordance svith the requirenlentsofFed.R.Crim . P.4.1
     by Face Tim e on this 10th day 0f-April,2023,in szliam iaFlorida      .




          h.
           .                  ê




     HON O RABLE LISETTE M .REID
     UNITEO STATES M AGJSTRATE JUDGE




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